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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                      )
UNITED STATES OF AMERICA                              )
                                                      )
       v.                                             )       Case No. 17-cr-00232 (EGS)
                                                      )
MICHAEL T. FLYNN,                                     )
                                                      )
                       Defendant.                     )
                                                      )


                     MOTION FOR LEAVE TO FILE AMICUS BRIEF

       Pursuant to this Court’s minute orders dated May 12 and May 19, 2020, Mr. Kamil Ekim

Alptekin moves for leave to file this brief as amicus curiae with regard to the Government’s

pending motion to dismiss the criminal information against Lt. Gen. Michael T. Flynn. See ECF

198.

       Amicus curiae is a Turkish businessman with an extensive background working to

improve and promote U.S.-Turkey relations. His past experience includes serving as a Fellow at

the United States House of Representatives’ International Relations Committee, and serving as

Chairman of the Turkish American Business Council (“TAIK”). On December 12, 2018, amicus

curiae was indicted in the United States District Court for the Eastern District of Virginia in

United States v. Bijan Rafiekian, et al., 18-CR-457-AJT-1 (J. Trenga). At the time the indictment

was issued, he was present at his home in Turkey and has not made an appearance in court to

address the charges contained therein. Nonetheless, amicus curiae has an interest in the present

matter because the charges pending against him are based on factual admissions made and since

repudiated in Flynn’s Statement of Offense.
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       In the attached brief, amicus curiae argues that continued prosecution of Flynn no longer

serves the interests of justice contemplated by the Principles of Federal Prosecution. In so

arguing, amicus curiae points to the suggestion in the record that at least part of Flynn’s

motivation for previously entering a guilty plea stemmed from the threat of facing additional

charges for alleged violations the Foreign Agents Registration Act (“FARA”), 18 U.S.C. § 951 et

seq., and the threat that his son, Michael G. Flynn, would be indicted if Flynn did not cooperate.

       Notably, amicus curiae raises to this Court’s attention that the Government’s theory

behind the alleged FARA violations—that the Republic of Turkey had directed and controlled

the worked that Flynn Intel Group (“FIG”) performed under its engagement with Inovo, BV—

was rejected by Judge Anthony Trenga in United States v. Rafiekian, No. 1:18-CR-457-AJT-1,

2019 WL 4647254 (E.D. Va. Sept. 24, 2019). In that case, Judge Trenga explicitly found that

“[t]here was no competent evidence from which the jury could find that Alptekin acted as the

type of ‘intermediary’ the Government contends.” Id. at *26. Nor was there “evidence that

Rafiekian, or Alptekin for that matter, was channeling instructions from the Turkish government

concerning the day-to-day operational details” of the engagement, or any “evidence, direct or

otherwise . . . that Turkey funded the engagement of FIG, or that the engagement was not in fact

being funding by a group of Turkish businessmen, as Rafiekian stated consistently throughout.”

Id. at *28-29, 33-34.

       No brief yet filed with this Court has addressed the position that Flynn’s plea was partly

induced by threatened charges later found to be without merit. Moreover, Flynn has not provided

arguments on these issues because he has consented to the Government’s motion to dismiss.

Accordingly, amicus curiae hereby requests leave to file the attached brief.




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June 5, 2020                           Respectfully submitted,




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Counsel for Amicus Curiae




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                           FOR THE DISTRICT OF COLUMBIA

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       v.                                           )      Case No. 17-cr-00232 (EGS)
                                                    )
MICHAEL T. FLYNN,                                   )
                                                    )
                      Defendant.                    )
                                                    )


     NOTICE OF ENTRY OF APPEARANCE FOR PROPOSED AMICUS CURIAE
       Please kindly enter the appearance of undersigned counsel as attorneys of record for
proposed amicus curiae, Mr. Kamil Ekim Alptekin.


June 5, 2020                                   Respectfully submitted,



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